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                                                 A
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                            UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF NEW YORK



UNITED STATES OF AMERICA, et al.,

                          Plaintiffs,

                  v.                                  Case No. 1:24-cv-03973 (AS)(SLC)
                                                      [1:24-cv-03994 and 1:24-cv-04106]
LIVE NATION ENTERTAINMENT, INC.
and TICKETMASTER L.L.C.

                          Defendants.



                                        PROTECTIVE ORDER

        The parties having agreed to the following terms of confidentiality, and the Court having

 found that good cause exists for issuance of an appropriately tailored confidentiality order

 governing the pre-trial phase of this action, it is therefore hereby:

        ORDERED that any person subject to this Order—including without limitation the parties

 to this action, their representatives, agents, experts, consultants, all third parties providing

 investigation or discovery materials in this action, and all other interested persons with actual or

 constructive notice of this Order—shall adhere to the following terms, upon pain of contempt:

       1.     Any person subject to this Order who receives from any other person any “Discovery

              Material” (i.e., information of any kind provided in discovery in this action) or who

              previously received from any other person any “Investigation Material” (i.e.,

              information provided to any party related to the Plaintiffs’ pre-Complaint

              investigation of the Defendants’ alleged conduct) that is designated as “Confidential”

              pursuant to the terms of this Order shall not disclose such Confidential Discovery

              Material or Investigation Material to anyone else except as expressly permitted

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      hereunder and shall not use such Confidential Discovery Material or Investigation

      Material for any purpose other than in connection with this action, except, for

      Plaintiffs, as provided in Paragraph 17 of this Protective Order.

 2.   The person producing any given Discovery Material or Investigation Material may

      designate as Confidential only such portion of such material as consists of:

            a. previously non-publicly disclosed financial information (including without

                limitation profitability reports or estimates, percentage fees, design fees,

                royalty rates, minimum guarantee payments, sales reports, and sale

                margins);

            b. previously non-publicly disclosed material relating to ownership or control

                of any non-public company;

            c. previously non-publicly disclosed business plans, product development

                information, or marketing plans;

            d. any information of a personal or intimate nature regarding any individual;

                or

            e. any other category of information hereinafter given confidential status by

                the Court.

 3.   With respect to the Confidential portion of any Discovery Material or Investigation

      Material other than deposition transcripts (e.g., documents (including deposition

      exhibits) and data), the producing person or that person’s counsel may designate such

      portion as “Confidential” by stamping or otherwise clearly marking as “Confidential”

      the protected portion in a manner that will not interfere with legibility or audibility,

      and by also producing within seven (7) days of the deposition for all deposition

      exhibits or within three (3) business days of a receiving person’s request (which shall
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      be limited to those documents it intends in good faith to use in any motion, hearing

      or trial) for any other Discovery Material or Investigation Material, another copy of

      said deposition exhibit or other Discovery Material or Investigation Material with the

      Confidential information redacted.

 4.   With respect to deposition transcripts, a producing person or that person’s counsel

      may indicate on the record that the deposition included testimony on Confidential

      information, in which case the transcript of the deposition will be designated as

      Confidential for a period of thirty (30) days following the release of the official

      transcript. The producing person or that person’s counsel will, within thirty (30) days

      of the release of the official transcript (unless otherwise agreed to by the Parties),

      provide the receiving person a copy of such transcript with the specific testimony

      containing Confidential information, highlighted, stamped, or otherwise clearly

      marked as “Confidential” on a line-by-line basis, in a manner that does not interfere

      with legibility or audibility.

 5.   If at any time prior to the trial of this action, a producing person realizes that some

      portion(s) of Discovery Material or Investigation Material that that person previously

      produced without limitation should be designated as Confidential, he or she may so

      designate by so apprising all parties in writing, and such designated portion(s) of the

      Discovery Material or Investigation Material will thereafter be treated as Confidential

      under the terms of this Order.

 6.   No person subject to this Order other than the producing person shall disclose any of

      the Discovery Material or Investigation Material designated by the producing person

      as Confidential to any other person whomsoever, except to:

            a. counsel for Plaintiffs, including any attorneys, paralegals, other
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              professional personnel (including support and IT staff), and agents or

              independent contractors retained by Plaintiffs to assist in this action whose

              functions require access to the information;

           b. counsel for Defendants retained specifically for this action, including any

              attorneys, paralegals, clerical and other assistants employed by such

              counsel and assigned to this matter;

           c. Daniel Wall and Kimberly Tobias, both Designated In-House counsel at

              Live Nation Entertainment, Inc. with responsibilities for the litigation of

              this action, and provided they will not have non-legal commercial roles

              during the pendency of this litigation, and shall not for a period of two

              years following the last occasion on which Confidential information is

              disclosed to them (a) participate in or advise on Competitive Decision-

              Making (i.e., decision-making relating to a competitor, potential

              competitor, customer, or distribution partner including decisions regarding

              contracts, marketing, pricing, product or service development or design,

              product or service offerings, research and development, mergers and

              acquisitions, or licensing, acquisition, or enforcement of intellectual

              property rights), other than for the purpose of rendering of legal advice as

              to litigation, litigation risk, regulatory compliance and risk, and intellectual

              property licensing issues related to such decisions, for the Defendants;

              (b) participate in or advise on Competitive Decision-Making, other than for

              the purpose of rendering of legal advice as to litigation, litigation risk,

              regulatory compliance and risk, and intellectual property licensing issues

              related to such decisions, involving Confidential information they accessed

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              during the course of this action at any employer. For the avoidance of

              doubt, Mr. Wall’s involvement in investor relations and regulatory affairs

              as Executive Vice President for Corporate and Regulatory Affairs shall not

              render his role a non-legal commercial role. Notwithstanding the

              aforementioned, Designated In-House counsel may not participate in

              commercial agreements between their employer and any non-party whose

              Confidential information is disclosed to Defendants during the pendency of

              this Action (including appeals) and for one year thereafter unless the

              nonparty provides written consent to such participation after having been

              informed of the Designated In-House counsel’s access to the non-party’s

              Confidential information. To qualify for access under this subpart, Mr.

              Wall and Ms. Tobias shall first execute a Designated In-House Counsel

              Agreement Concerning Confidentiality in the form annexed as an Exhibit

              hereto as Appendix B (which executed versions shall be maintained by

              outside counsel for Defendants and available for inspection upon the

              request of the Court or any party or third party). Defendants shall promptly

              report any confirmed or suspected unauthorized use or disclosure of

              Confidential information to the Court and Plaintiffs;

           d. outside vendors or service providers (such as copy-service providers, and

              document-management consultants) retained by a party to assist that party

              in this action, provided that they shall first execute the Non-Disclosure

              Agreement in the form annexed as an Exhibit hereto as Appendix A;

           e. as to any document, its author, its custodian, its addressee and any other

              person indicated on the face of the document as having received a copy, or
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                any other individual from the producing person who the receiving party has

                a good-faith basis to believe, was the author, addressee, recipient,

                custodian, or source of the information;

            f. any person retained by a party to serve as an expert witness or otherwise

                provide specialized advice to counsel in connection with this action,

                including employees of the firm with which the expert or person is

                associated or independent contractors who assist the person’s work in

                connection with this action, provided such person has first executed a Non-

                Disclosure Agreement in the form annexed as an Exhibit hereto as

                Appendix A;

            g. any outside trial consultant (including, but not limited to, graphics

                consultants) provided such person has first executed a Non-Disclosure

                Agreement in the form annexed as an Exhibit hereto as Appendix A;

            h. stenographers engaged to transcribe, and videographers engaged to record,

                depositions conducted in this action;

            i. any special master, mediator, arbitrator, trustee, or monitor that the parties

                engage in this action or that the Court appoints; and

            j. the Court and its support personnel.

 7.   All Confidential Discovery Material or Investigation Material filed with the Court,

      and all portions of pleadings, motions, or other papers filed with the Court that

      disclose such Confidential Discovery Material or Investigation Material, shall be filed

      under seal and kept under seal until further order of the Court. The parties will use

      their best efforts to minimize such sealing. In any event, any party filing a motion or

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       any other papers with the Court under seal shall also within seven (7) days publicly

       file a redacted copy of the same, via the Court’s Electronic Case Filing system, that

       redacts only the Confidential Discovery Material or Investigation Material itself, and

       not text that in no material way reveals the Confidential Discovery Material or

       Investigation Material.

 8.    Any party who either objects to any designation of confidentiality, or who, by

       contrast, requests still further limits on disclosure (such as “attorneys’ eyes only” in

       extraordinary circumstances), may at any time prior to the trial of this action serve

       upon counsel for the designating person a written notice stating with particularity the

       grounds of the objection or request. If agreement cannot be reached promptly, counsel

       for all affected persons will address their dispute to this Court in accordance with

       Paragraph 5 of this Court’s Individual Practices in Civil Cases.

 9.    All persons are hereby placed on notice that the Court is unlikely to seal or otherwise

       afford confidential treatment to any Discovery Material or Investigation Material

       introduced in evidence at trial, even if such material has previously been sealed or

       designated as Confidential. The Court also retains unfettered discretion whether to

       afford confidential treatment to any Confidential Document or information contained

       in any Confidential Document submitted to the Court in connection with any motion,

       application, or proceeding that may result in an order and/or decision by the Court.

 10.   Each person who has access to Discovery Material or Investigation Material that has

       been designated as Confidential shall take all due precautions to prevent the

       unauthorized or inadvertent disclosure of such material.

 11.   If, in connection with this litigation, a party inadvertently discloses information

       subject to a claim of attorney-client privilege, deliberative process privilege, attorney-

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       work-product protection, or other applicable legal or evidentiary privilege

       (“Inadvertently Disclosed Information”), such disclosure shall not constitute or be

       deemed a waiver or forfeiture of any claim of privilege or work product protection

       with respect to the Inadvertently Disclosed Information and its subject matter.

 12.   If a disclosing party makes a claim of inadvertent disclosure, the receiving party shall

       not thereafter review the Inadvertently Disclosed Information for any purpose, except

       by order of the Court. The receiving party shall, within five (5) business days, return

       or destroy all copies of the Inadvertently Disclosed Information, and provide a

       certification of counsel that all such information has been returned or destroyed.

 13.   Within five (5) business days of the notification that such Inadvertently Disclosed

       Information has been returned or destroyed, the disclosing party shall produce a

       privilege log with respect to the Inadvertently Disclosed Information, and a redacted

       version of the Inadvertently Disclosed Information.

 14.   As with any information redacted or withheld, the receiving party may seek an order

       from the Court compelling production of the Inadvertently Disclosed Information.

       The receiving party should follow the procedures in Paragraph 5 of the Court’s

       Individual Practices in Civil Cases and shall not assert as a ground for entering such

       an Order the fact or circumstances of the inadvertent production.

 15.   The disclosing party retains the burden of establishing the privileged or protected

       nature of any Inadvertently Disclosed Information. Nothing in this Order shall limit

       the right of any party to request an in camera review of the Inadvertently Disclosed

       Information.

 16.   This Order, and any subsequent order of this Court governing the Plaintiffs’

       production of any documents, data, communications, transcripts of testimony, or
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       other materials in this action, constitutes a court order within the meaning of the

       Privacy Act, 5 U.S.C. § 552a(b)(11) and analogous state laws.

 17.   Nothing in this Order prevents any Plaintiff’s retention, use, or disclosure of

       Confidential information outside the context of this action (i) to the extent permitted

       or required by law, court order, or regulation; (ii) for law enforcement purposes; or

       (iii) for the purpose of securing compliance with a Final Judgement in this action.

       Outside counsel for the parties will be entitled to retain court papers and exhibits,

       deposition transcripts and exhibits, hearing transcripts and exhibits, trial transcripts

       and exhibits, correspondence (including internal correspondence and email) and work

       product, provided that the parties and their counsel do not disclose the portions of

       these materials containing Confidential information to any person, except pursuant to

       court order or agreement with the person that produced the Confidential information

       or as otherwise permitted herein.

 18.   This Protective Order shall survive the termination of the litigation. Within thirty (30)

       days of the final disposition of this action, all Discovery Material and Investigation

       Material designated as “Confidential,” and all copies thereof, shall be promptly

       returned to the producing person, or, upon permission of the producing person,

       destroyed, except as provided in paragraph 18.

 19.   This Court shall retain jurisdiction over all persons subject to this Order to the extent

       necessary to enforce any obligations arising hereunder or to impose sanctions for any

       contempt thereof.

 20.   Notice of this Order will be provided to third parties in the following manner:

             a. Within four (4) business days of the Court’s entry of this Order, each party


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                 must send by email, overnight mail, or hand delivery a copy of this Order

                 to each third party (or, if represented by counsel, the third party’s counsel)

                 that provided Investigation Material to that party; and

             b. Any party that seeks Discovery Material from any third party must include

                 a copy of this Order when serving the discovery request or subpoena on the

                 third party. If any party sent a discovery request or subpoena to any third

                 party prior to entry of this Order, that party must send a copy of this Order

                 to the third party within two (2) business days of entry of this Order.

             c. If a non-party determines that this Order does not adequately protect its

                 Investigation Material or Discovery Material, it may, within seven (7) days

                 after receipt of a copy of this Order, seek additional protection from the

                 Court. If a non-party timely seeks additional protection from the Court, the

                 party’s obligation to produce that non-party’s documents containing

                 Confidential Investigation Material or Discovery Material, that is the

                 subject of the motion, is suspended until a decision is rendered by the Court.

                 If the Court orders the production of the non-Party’s documents, the Party

                 will have seven (7) days to make the production unless a longer period is

                 ordered by the Court.

 21.   All Investigation Material produced pursuant to the Antitrust Civil Process Act, 15

       U.S.C. § 1311-14 will be treated as Confidential regardless of whether or not a non-

       party requested confidential treatment at the time of production.           Any other

       Investigation Material produced by a non-party that was not previously designated as

       Confidential will be treated as Confidential for a period of fifteen (15) days from the

       date of this Order. Within that time, any non-party person who produced Investigation
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             Material to any party and did not designate those materials as Confidential may so

             designate any such materials as Confidential pursuant to the terms of this Order.

             Except as provided in paragraph 6, any non-party Investigation Material not timely

             designated under this paragraph will not be treated as Confidential following the

             expiration of the fifteen (15) day period. Nothing in this Order shall be construed to

             prevent a party from asserting a valid privilege or protection with respect to disclosure

             of such Investigation Material.

     22.     To the extent a producing person or non-party designates or has previously designated

             Investigation Material as Confidential, Highly Confidential or other equivalent

             designation, those materials shall be designated as Confidential under this Order,

             subject to any later challenge by a party. To the extent Investigation Material is

             reproduced in this action, it shall be treated as Confidential Discovery Material under

             the terms of this Order.

         SO STIPULATED AND AGREED.




         Dated:                                           Dated:


         SO ORDERED.




                                                          ARUN SUBRAMANIAN, U.S.D.J.

Dated:            New York, New York
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                                             APPENDIX A

                             UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF NEW YORK



UNITED STATES OF AMERICA, et al.,

                           Plaintiffs,

                   v.                                  Case No. 1:24-cv-03973 (AS)(SLC)
                                                       [1:24-cv-03994 and 1:24-cv-04106]
LIVE NATION ENTERTAINMENT, INC.
and TICKETMASTER L.L.C.

                           Defendants.



                               NON-DISCLOSURE AGREEMENT

     I,       , acknowledge that I have read and understand the Protective Order in this action

governing the non-disclosure of those portions of Discovery Material and Investigation Material

that have been designated as Confidential. I agree that I will not disclose such Confidential

Discovery Material and Investigation Material to anyone other than for purposes of this litigation

and that at the conclusion of this litigation I will return all such information to the party or attorney

from whom I received it. By acknowledging these obligations under the Protective Order, I

understand that I am submitting myself to the jurisdiction of the United States District Court for

the Southern District of New York for the purpose of any issue or dispute arising hereunder and

that my willful violation of any term of the Protective Order could subject me to punishment for

contempt of Court.




          Dated:
                                                   1
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                                                 APPENDIX B

                                UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF NEW YORK



 UNITED STATES OF AMERICA, et al.,

                              Plaintiffs,

                      v.                                    Case No. 1:24-cv-03973 (AS)(SLC)
                                                            [1:24-cv-03994 and 1:24-cv-04106]
 LIVE NATION ENTERTAINMENT, INC.
 and TICKETMASTER L.L.C.

                              Defendants.


                  DESIGNATED IN-HOUSE LITIGATION COUNSEL AGREEMENT
                                    CONCERNING CONFIDENTIALITY

 I,                           am employed as                         by                             .I


 certify that:

         1. I have read the Protective Order entered in the above-captioned action and

understand its terms.

         2. I agree to be bound by the terms of the Protective Order entered in the above-

captioned action, agree that in my role as in-house counsel for the above Defendant company I meet the

requirements of Paragraph 7(c) of this Protective Order, and agree to use the information provided to me

only as explicitly provided in this Protective Order.

         3. I understand that my failure to abide by the terms of the Protective Order entered in

the above-captioned action will subject me without limitation to civil penalties for contempt of

Court.
                                                        1
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       4. I submit to the jurisdiction of the United States District Court for the Southern District

of New York solely for the purpose of enforcing the terms of the Protective Order entered in the

above-captioned action and freely and knowingly waive any right I may otherwise have to object

to the jurisdiction of said Court.




                                                        SIGNATURE




                                                         DATE




                                                   2
